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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
_________________________________________________________________

UNITED STATES OF AMERICA,       )
                                )
          Plaintiff,            )
                                )
vs.                             )        No. 08-20397-JPM-dkv
                                )
MORRIS AKINS,                   )
                                )
          Defendant.            )
_________________________________________________________________

 REPORT AND RECOMMENDATION ON DEFENDANT’S MOTION TO SUPPRESS THE
       SEARCH OF THE PREMISES LOCATED AT 949 E. BROOKS ROAD
_________________________________________________________________

        The defendant, Morris Akins, has been charged in a four-count

indictment with (1) robbery affecting commerce in violation of 18

U.S.C. § 1951; (2) knowingly using and carrying a firearm during

robbery affecting commerce in violation of 18 U.S.C. § 924(c); (3)

killing    Michael   Byest     with   the   intent   to   prevent    him   from

communicating information relating to a robbery affecting commerce

to a law enforcement officer or judge of the United States; and (4)

conspiring to affect interstate commerce by robbery from on or

about May 10, 2007 to on or about June 11, 2007.            Before the court

is the May 12, 2010 motion of Akins to suppress all evidence,

including but not limited to a firearm and t-shirt, seized by law

enforcement officers during a search of the premises located at 949

E. Brooks Road, Memphis, Tennessee on May 10, 2007.                 (D.E. No.

226.)     The government filed a timely response in opposition.             The
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motion was referred to the United States Magistrate Judge for

report and recommendation.

       Pursuant to the reference, an evidentiary hearing was held on

August 16 and 17, 2010.1            At that hearing, the government called

six officers with the Memphis Police Department (“MPD”) plus

Kimitha Boscoe as witnesses: (1) Officer Joseph Henry Knight, (2)

Officer Marcus Redd, (3) Officer Lee Potts, (4) Officer Chester

Striplin,      (5)   Officer       James    Taylor,     and    (6)     Sergeant     Joe

Poindexter.      The government also introduced seven exhibits: (1)

Commercial Lease for 949 E. Brooks Road signed by Tommy Nelson

(“Ex. 30"); (2) Lease Extension signed by Tommy Nelson (“Ex. 31");

(3) the Consent to Search Form signed by Geral Jones and witnessed

by    Officers   McMoore     and    Potts    (“Ex.    32");    (4)     the   victim’s

statement(“Ex.       33");   (5)    the    redacted     statement      of    Sgt.   Joe

Poindexter (“Ex. 34"); (6) the Statement of Sgt. Joe Poindexter

(“Ex. 35"); and (7) the ballistics report (“Ex. 36").                    The defense

called three witnesses: (1) Akins, (2) Geral Jones, and (3) Willie

Mae Stokes.      The defense also introduced seven exhibits: (1) the

Robbery Defendant’s Statement (“Ex. 37"); (2) the Statement of

Geral Jones (“Ex. 38"); (3) the photograph of 949 East Brooks Rd.

(“Ex. 39"); (4) a receipt of Geral Jones in the amount of $375.00

(“Ex. 40"); (5) a misdemeanor citation (“Ex. 41"); (6) a photograph


       1
       The evidentiary hearing included both the present motion to
suppress (D.E. No. 226) and Akins’ Motion to Suppress Show-Up and
State Court Identification filed May 7, 2010, (D.E. No. 225), for
which a separate Report and Recommendation is submitted.
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of East Brooks Road (“Ex. 42"); and (7) a notice of property

seizure (“Ex. 43").       After careful consideration of the statements

of    counsel,   the    testimony      of   the   witnesses,    the    evidentiary

exhibits, and the entire record in this case, this court submits

the    following    findings      of   fact   and   conclusions       of   law   and

recommends that the motion to suppress be denied.

                        I. PROPOSED FINDINGS OF FACT

       The MPD officers testified consistently to the following

facts, and this court accepts their testimony as credible and finds

as fact the following.

       On May 10, 2007, at or around 6:00 p.m., MPD responded to a

robbery dispatch at the Easy Way grocery store located at 4599

Elvis Presley Boulevard. The dispatch alerted MPD that there were

two black male suspects and one black female suspect who left the

scene in a white and tan Chevrolet Tahoe with license plate number

“389-LBC.” Less than one minute after hearing the broadcast,

Officer Joseph Knight witnessed a vehicle meeting this description

speed through the intersection of Elvis Presley and Bluebell

heading north.         Officer Knight broadcast his observation to the

other officers over the radio.

       Approximately five minutes after the original broadcast,

Officer Marcus Redd drove down Brooks Road to look for the reported

robbers.     Officer Redd saw a white and tan Tahoe parked in front of

949 E. Brooks Road, Suite 2, bearing license plate number “389-

LQC,” which was one letter off from the dispatched plate number.
                               3
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While waiting for additional officers to respond, Officer Redd

talked to employees at the beauty shop next door to Suite 2 who

reported that they had no knowledge of who owned the Tahoe in

question.   Officer Redd testified that the door to Suite 2 was

locked.

     According to Officer Potts, once he and Officer McMoore2

arrived, they along with Officer Redd rang the doorbell or pressed

the buzzer at 949 E. Brooks Road, Suite 2.       Officers Redd and Potts

both testified that Geral Jones answered the door.             The officers

asked Jones if she knew who was driving the Tahoe in question

parked outside.    Jones said she did not know.        The officers asked

for permission to enter the business, and Jones verbally consented.

Officer Potts testified that Jones identified herself as the

manager of the business.

     After entering the premises, the officers saw that Akins, who

was sitting across the room, matched the description of the suspect

from the dispatch alert for the robbery of the Easy Way grocery.

The officers detained Akins.       While Akins was still present, the

officers asked Jones for her consent to search the premises, and

Jones gave verbal consent.      The officers then asked her to sign a

Consent to Search Form. (Ex. 32.) Officer Potts explained the form

to Jones, and Jones did not indicate that she had any problem

reading or understanding the form.        Jones signed the consent to


     2
          Officer McMoore did not testify because he was killed in
a motorcycle accident in June of 2009. (Tr. at 237, 275.)
                                4
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search.     Akins and at least one other black female were present

when Jones signed the consent to search form.               Neither Jones nor

Akins made any statements at anytime to suggest that she was not

the manager of the business or that Akins was the manager of the

business.    Jones cooperated with the officers while they searched

the premises. The consent to search form signed by Jones authorized

Officers “R. McMoore #7019 and L. Potts #1807 Memphis Police

Department (titles of officers or agents and name of agency)” to

conduct a complete search of “my premises located at 949 E. Brooks

Suite #2.”    (Ex. 32.)

        The premises consisted of an open room with tables and a

business office connected to another room by a short hall.                   The

other room contained upright gambling machines.                   The premises

appeared to be used for an illegal gambling operation.                       The

officers noticed that one of the ceiling tiles was slightly out of

place. There was a table located just directly below the misplaced

tile.    The officers searched above the ceiling tile where Officer

Striplin found a .38 caliber firearm.           The officers also testified

that a blue t-shirt was recovered from the premises during the

search.      The   firearm     and   t-shirt    are   the   subject    of   this

suppression motion.

        There were differing accounts between the officers and the

defense witnesses as to whether Akins was an owner and/or operator

of the gambling business being conducted at 949 E. Brooks Road,

Suite 2.      Whether Akins was the owner and/or operator of the
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business operating at 949 East Brooks Road, Suite 2 is a finding of

fact contingent on the credibility of the testimony given at the

suppression hearing.3

     Akins testified that he leased the property at 949 E. Brooks

Road, Suite 2, that it was his place of business, that he operated

the business there, that the business was an illegal gambling

operation, and that he and Tommy Nelson were partners in that

business. (Tr. at 30, 41-42, 44-46, 60-61.) On further cross

examination,   Akins     admitted    that   there   was   no    documentation

demonstrating that he owned or operated the property in any

respect, that Tommy Nelson leased 949 E. Brooks Road, Suite 2, from

Bates Properties, the owner of the property, that he, Akins, did

not have a business license to operate a business at the premises,

and a business license, if any, would be in the name of Tommy

Nelson.   (Tr. at 41, 44-46.)       Akins also testified that he did not

own or rent the area above the ceiling tiles where the gun was

found.    (Tr. at 53.)    This court, however, does not find Akins to

be a credible witness based on his multiple felony convictions, his

bias as an interested party in the proceeding, and the lack of

evidence corroborating his testimony.

     Geral Jones, the individual who consented to the search of 949

East Brooks Road, Suite 2, testified that she worked there from



     3
        Even though whether Akins was an owner or operator is
question of fact, the court will make the finding in the next
section in connection with the analysis of standing.
                                6
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2:00 pm until 10:00 pm, five or six days a week, that Akins was her

boss, that he paid her, that he was present on a daily basis, that

he was in charge of the day-to-day operations, and that he closed

the business most nights. (Tr. at 174-175, 183.)

       Jones’s testimony, however, was inconsistent with previous

statements     she    had   made.    Jones    admitted       that     when    she   was

questioned by the police on the day of the search, she never told

the police that Akins was the manager, and that she identified only

Tommy Nelson as the lessee.            (Tr. at 181; Ex. 38.)            She further

conceded that she mentioned only Willie Mae Stokes and Charles

Thomas as employees of the operation and never mentioned Akins as

being involved in the business despite the fact that he was present

at the scene. (Tr. at 181-84.)          She testified that she was not paid

or hired by the Akins but was hired by Tommy Nelson. (TR at 62,

184, 381-390; Ex. 38.)            In addition, Jones testified on cross

examination that she was “in charge” of the business at the time of

the search     (Tr. at 374),      that she closed the business every night

except Friday and Saturday, that she had keys to the building (Tr.

at    187),   and    that   she   collected    the    cash    from     the    gambling

machines.      She also pleaded guilty to a misdemeanor charge of

possession of a gambling device.              (Ex. 41.)       Jones also may be

biased toward Akins since she knows his family and had recently

borrowed money from Akins’s sister. (Tr. at 186-87.) Moreover, her

testimony     was    inconsistent     with    Akins’s    testimony       in   certain

respects.     For instance, Akins testified that he hired Jones, but
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Jones testified that Nelson hired her.             Also, Jones seemed to

remember details when helpful to Akins but claimed not to remember

other details, such as when she was handcuffed and when the

handcuffs were removed, if those details did not benefit her or

Akins.      Based   on   her    inconsistent    statements,      her   personal

relationship with the Akins’ family, her demeanor in the courtroom,

her lack of memory of significant details, and her obvious desire

to help Akins, this court does not find Jones to be a credible

witness.

       Willie Mae Stokes testified on direct that she worked the

business at 949 East Brooks Road, that she had worked there about

a year prior to the date of the search, that Akins was her boss,

and that she had known him a long time through his sister.              (Tr. at

46.)   On cross examination, she acknowledged that the business was

an illegal gambling operation, that Tommy Nelson was the actual

owner of the “place,” and that Akins and Nelson were “together.”

(Tr. at 170.)   Stokes testified that Jones was one of the managers

“on her shift.”     (Id.)      Stokes testified that Akins had given her

cash payments in the past for her work at the business operation.

(Id.) Stokes was not able to offer any additional proof to support

the claim that Akins was the owner or operator of the business or

her boss, such as paychecks, etc. This court does not find Stoke’s

account of Akins’ position within the business operation to be

credible.


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       Finally, Kimitha Boscoe, the records custodian who worked for

M3 Management, formerly Bates Properties, the company that leased

the premises at 949 E. Brooks Road, was called by the government as

a witness on the issue of standing.                She confirmed that the

property was leased by Tommy Nelson and produced a lease and lease

extension signed by Tommy Nelson for the premises and the period of

time in question.      She testified that the monthly rent payment had

occasionally been delivered by Akins, but that Akins had never held

himself out as an owner or operator of the business, and that the

owner of the property had never given consent to Tommy Nelson to

sublease the property to anyone else.            (Tr. at 201.)

                      II. PROPOSED CONCLUSIONS OF LAW

A.     Standing to Suppress the Evidence Based on a Reasonable
       Expectation of Privacy

       As an initial matter, the court must decide whether Akins had

a reasonable expectation of privacy at 949 E. Brooks Road, Suite 2,

and therefore has standing to bring this motion to suppress.4                    It

is undisputed that the property located at 949 E. Brooks Road was

commercial and housed a business operation.              The expectation of

privacy in business property is distinguishable and lower than the

expectation in a personal residence; nevertheless, the Fourth

Amendment prohibition against unreasonable searches still applies



       4
       The court initially heard testimony only as to the standing
issue, but then proceeded, in the interest of judicial economy, to
hear all the proof in connection with the motion to suppress, prior
to ruling on the standing issue.
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to private commercial property.      New York v. Burger, 482 U.S. 691,

699-700 (1987).    To determine whether a privacy interest exists,

the court looks to the nature of the individual’s ties to the

property when determining whether there is a legally sufficient

interest.     United States v. Harris, 255 F.3d 288, 294 (6th Cir.

2001).    The Supreme Court has found that owners or operators of a

business have an expectation of privacy in the commercial property.

New York, 482 U.S. at 699.         A defendant who does not have an

expectation of privacy in the property has no standing to dispute

an illegal search or seizure of a third person’s property.              Rakas

v. Illinos, 439 U.S. 128 (1978).

        Akins asserts that he was the owner and/or operator of the

business at 949 East Brooks Road, and therefore he should be

entitled to claim protection under the Fourth Amendment.            The only

evidence offered by Akins in support of his claim was the testimony

of Akins, Jones, and Stokes; he offered no documentary evidence to

support his claim.     Akins also testified that he did not own or

rent the area above the ceiling tiles where the gun was found.

        The testimony of the other two witnesses called by Akins

concerning Akins’ position as an owner or operator of the business

was not credible. Neither of the witnesses were able to testify as

to Akins’ duties in the organization other than he left cash for

them.    They offered no documentation or corroborating information

to support their testimony that Akins was an owner or operator.

Moreover, at the time of the search in May of 2007, Jones’ failed
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to identify Akins as having any association with the business, and

her failure to do so is a superior indicia of truth regarding his

relationship with the premises.

      After reviewing the testimony and proof offered, this court

finds that Akins was not an owner or operator of the business and

had no expectation of privacy in the commercial property located at

949 E. Brooks Road, Suite 2.         Akins was not able to demonstrate

that he had a sufficient interest based on the nature of his ties

to the property. Occasionally delivering the monthly lease payment

or providing cash payments to employees does not demonstrate that

Akins had an expectation of privacy in the property.                   As an

individual simply present in an illegal gambling operation, Akins

had no reasonable expectation of privacy in the public areas of the

business.    Minn. v. Carter, 525 U.S. 83, 88-95 (holding that

defendants had no legitimate expectation of privacy in another’s

premises which they were visiting for the purely commercial purpose

of bagging cocaine); see also United States v. White, 401 U.S. 745,

752 (1971)(holding that even less expectation of privacy exists in

the   premises   of   an   illegal   business).    Because     he   lacks      an

expectation of privacy in the premises, in particular the area

above the ceiling tiles where the gun was found, and in the illegal

gambling operation, Akins is not entitled to claim the protection

of the Fourth Amendment and has no standing to suppress the

evidence seized from 949 East Brooks Road.


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B.     Jones’ Actual or Apparent Authority to Consent to the Search

       Even if Akins had standing to contest the search, the search

was proper if Geral Jones had actual or apparent authority to

consent to the search of the illegal gambling business located at

949 E. Brooks Road, Suite 2.             Valid consent to search may be

obtained from “a third party who possessed common authority over or

other sufficient relationship to the premises or effects sought to

be inspected.” United States v. Ayoub, 498 F.3d 532, 537 (6th Cir.

2007)(internal citations omitted)(quoting United States v. Matlock,

415 U.S. 164, 171 (1974)).          In situations where actual authority

does not exist, an alternative justification for a valid search is

apparent authority.       The Sixth Circuit has explained the apparent-

authority doctrine as follows:

        When one person consents to a search of property owned by
        another, the consent is valid if the facts available to
        the officer at the moment . . . warrant a man of
        reasonable caution [to believe] that the consenting party
        had authority over the premises.       Whether the facts
        presented at the time of the search would warrant a man
        of reasonable caution to believe the third party has
        common authority over the property depends upon all of
        the surrounding circumstances.     The government cannot
        establish that its agents reasonably relied upon a third
        party’s apparent authority if agents, faced with an
        ambiguous situation, nevertheless proceed without making
        further inquiry. If the agents do not learn enough, if
        the circumstances make it unclear whether the property
        about to be searched is subject to mutual use by the
        person giving consent, then warrantless entry is unlawful
        without further inquiry.       Where the circumstances
        presented would cause a person of reasonable caution to
        question whether the third party has mutual use of the
        property, warrantless entry without further inquiry is
        unlawful.


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United States v. Taylor, 600 F.3d 678, 681 (6th Cir. 2010) (quoting

United States v. Waller, 426 F.3d 838, 846 (6th Cir. 2005)).

     Where   there     are    two   competing    accounts       of      the   events

surrounding a warrantless search, the court must make a finding of

fact based on the credibility of the witnesses it observes at the

suppression hearing.         United States v. Taylor, 956 F.2d 572, 576

(6th Cir.) (quoting United States v. Rose, 889 F.2d at 1490, 1494

(6th Cir. 1989)). To weigh the credibility of different witnesses,

the court may consider whether one account is more plausible on a

certain issue, whether there are inconsistencies in the witnesses’

testimony,   whether     the     defendant      is   a   “sophisticated          and

experienced criminal,” and whether there was evidence that the

defendant was “cordial, cooperative, and helpful” to officers.

United   States   v.   Van    Shutters,   163    F.3d    331,     336    (6th   Cir.

1998)(finding that the defendant consented to the warrantless

search based on officers credible testimony despite noting certain

inconsistencies); see also United States v. Abdullah, 162 F.3d 897,

902 (6th Cir. 1998)(finding consent notwithstanding defendant’s

claim that he was unable to understand the officer’s search request

based in part on the finding that the officer’s testimony was

credible).

     This court concludes that Geral Jones had actual authority to

consent to the search of 949 E. Brooks Road.              Jones worked at the

property as a manager/cashier from 2:00 p.m. to 10:00 p.m. Monday

through Thursday and on Saturday. (Tr. at 177.)                 She had keys to
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the business, and her duties included letting customers into the

business.    (Tr. at 177, 187, 374.)      She had authority to access the

money for the business under a desk in the office.                (Tr. at 389.)

When Officers Redd, Potts, and Woods rang the doorbell of the

business, Jones answered the door and identified herself at the

manager.    (Tr. at 228, 231-32, 235, 240, 268-69, 273-75, 410-12.)

Acting as a manager for the business, Jones signed a Notice of

Property Seizure and Forfeiture (Ex. 43) and a Receipt for Monies

(Ex. 40).

     Jones also had apparent authority to consent to the search.

At a minimum, Jones’ actions on May 10, 2007 would warrant a man of

reasonable caution to believe that she had authority over the

premises.    The officers were not faced with any ambiguities as to

who was in charge of the premises when they were given permission

to search.    Akins and Stokes were present, and neither identified

himself or herself as one having authority over the business.                     In

addition, neither Akins nor Stokes protested or disputed Jones’

authority    to   sign   the   consent   form.      The   Sixth    Circuit    has

established that the potential objector loses out and a search will

be deemed valid when the potential objector is nearby but fails to

participate in the threshold dialogue. See Ayoub, 498 F.3d at 537.

Consequently, Geral Jones had apparent authority to consent to the

search of 949 E. Brooks Road on May 10, 2007.




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C.      Whether Jones’ Consent was Voluntary

        If Jones had both actual and apparent authority to consent to

search, the court must also decide whether Jones’ consent to a

search of 949 E. Brooks Road was voluntary.               The government bears

the burden of showing by a preponderance of the evidence that the

consent was voluntarily given. Schneckloth v. Bustamonte, 412 U.S.

218, 235-246 (1973).           Whether a consent to search is voluntarily

and knowingly given is “a question of fact to be determined from

the totality of the circumstances.”              Id. at 243.      The totality of

the circumstances include, but are not limited to, the level of

education or intelligence of the person, the lack of any warnings

regarding that person’s rights, and the length and nature of

questioning.       See United States v. Crowder, 62 F.3d 782, 787 (6th

Cir. 1995); Bustamonte, 412 U.S. at 226, 248.              The government must

demonstrate through “clear and positive testimony” that the consent

was voluntarily given and not tainted by duress or coercion.

United States v. Canipe, 569 F.3d 597, 602 (6th Cir. 2009).

        Officers Redd and Potts testified that Jones was calm and

cooperative when she consented to the search and that she had not

been handcuffed or threatened prior to offering her consent.                   (Tr.

at 233, 242, 269-70, 277, 285.)          They testified that they reviewed

the consent form with Jones prior to receiving her signature and

Jones did not ask any questions or suggest that she did not

understand.        (Tr.   at    232,   273-74,    288.)     The     officers   also

testified that they never drew their weapons during the incident at
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949 E. Brooks Road.     (Tr. at 244, 269-70.)

     Jones alleges that she was threatened with being taken to jail

if she did not consent.        (Tr. at 368-69.)      She also testified that

she had been ordered out of the building at gunpoint and then

handcuffed by the officers.          (Tr. at 366-67.)            However, these

statements were inconsistent with her prior statements during a

pre-hearing meeting with the government on August 13, 2010, when

she advised that she had never been threatened by anyone.                (Tr. at

368-69, 404.) Plus, she could not recall if she was handcuffed

prior to signing the consent to search.

     This court finds that the testimony of the officers is more

credible than Jones’ testimony on this issue.              Multiple officers

testified independently to the same sequence of events.                    Their

statements were reliable and consistent.               In contrast, Jones’

testimony was inconsistent and lacked detail.            Her account of the

incident   changed    drastically     from     her   pre-hearing      interview

statement on August 13, 2010.        (Tr. at 368-69, 404.)

     Based on the positive testimony of the officers, the totality

of the circumstances demonstrates that Jones provided voluntary

consent to search the premises at 949 E. Brooks Road. The evidence

does not suggest that Jones was subjected to duress or coercion in

providing that consent.        Her signature and the testimony regarding

her cooperative demeanor supports a finding that her consent was

voluntarily and freely given on the day in question.


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D.     The Scope of the Consent to Search

     Finally, Akins asserts that the officers exceeded the scope of

the consent to search that was given by Jones.                   The standard for

determining the scope of a search is objective reasonableness:

what a reasonable person would have understood based on the

exchange between the officer and the person providing consent.

United     States   v.   Berry,     184   Fed.    Appx.   470,      474   (6th   Cir.

2006)(citing Florida v. Jimeno, 500 U.S. 248, 251 (1991)). Consent

does not have to be given in writing; verbal consent is sufficient

to stand alone as valid.          See United States v. Buckingham, 433 F.3d

508, 513 (6th Cir. 2006).

        The testimony of Officer Potts shows that the police first

obtained verbal consent from Jones to search the building, and then

Jones executed the police department’s standard consent form. (Tr.

at 273-74.)         Jones was cooperative and even accompanied the

officers throughout the room as they proceeded to search the

premises.       Jones never restricted the officers’ search of the

premises in any way.          The area above the ceiling tiles was not

excluded from the leased premises in the lease agreement, it was

not secured or locked, and it was therefore within the scope of

Jones’ consent.

        Akins also argues that the written consent to search form

signed by Jones authorized only Officer McMoore and Potts to search

the premises but that other officers with the Memphis Police

Department actually participated in the search, and therefore the
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search exceeded the scope of the Jones’ consent.               Akins cites no

case authority for the proposition that an officer, once he

receives permission to search, cannot enlist other officers to

assist him or to search on his behalf.            The consent to search

actually identifies the Memphis Police Department as the agency

authorized to conduct the search.        In addition, Jones had already

given verbal consent to the officers, without restriction, to

search the premises.      Accordingly, the court concludes that the

officers did not exceed the scope of the consent by allowing other

MPD officers to search.

                          III. RECOMMENDATION

     For the reasons expressed above, this court recommends that

Akins’ motion to suppress be denied.

     Respectfully submitted this 17th day of December, 2010.


                                         s/Diane K. Vescovo
                                         DIANE K. VESCOVO
                                         UNITED STATES MAGISTRATE JUDGE




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